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                                                           January 8, 2021

BY ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, NY 10007

         Re: United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

       We write on behalf of our client, Ghislaine Maxwell, to respectfully request a 30-day
extension of time under Rule 4(b)(4) of the Federal Rules of Appellate Procedure to file our notice
of appeal of the Court’s order denying Ms. Maxwell’s renewed motion for bail. (Dkt. 104, 106).

        Rule 4(b)(4) provides that a district court may, upon a finding of “good cause,” extend the
time to file a notice of appeal “for a period not to exceed 30 days.” Fed. R. App. P. 4(b)(4). In
criminal cases, a defendant’s notice of appeal must be filed “within 14 days after … the entry of
either the judgment or the order being appealed.” Fed. R. App. P. 4(b)(1)(A)(i). The Court’s
order denying Ms. Maxwell’s renewed motion for bail was entered on December 28, 2020. (Dkt.
104, 106). Accordingly, Ms. Maxwell’s notice of appeal of that order must be filed on or before
Monday, January 11, 2021.

        There is good cause for an extension here. Ms. Maxwell is considering whether to submit
a third bail application to the Court, which would propose even more stringent and restrictive bail
conditions than those proposed in the renewed bail application. The requested extension will give
Ms. Maxwell the opportunity to research whether and to what extent these additional conditions
are legally and practicably available, without forfeiting as untimely a possible appeal from the
Court’s December 28 Order denying the renewed bail application. The additional time is also
warranted because it will enable the defense to continue its review of recently produced
documents and to file our pretrial motions (each of which may bear on the merits of a possible
third bail application); to research whether an appeal of the December 28 Order might deprive this
Court of jurisdiction to address a third bail application; and because of logistical challenges posed
by the continued effects of the pandemic.
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          A brief extension of the time to appeal would also promote judicial efficiency because a
  third bail application may moot the need to appeal from the December 28 Order (or, in the event
  the third application is denied, permit a consolidated appeal). Conversely, denying the extension
  will require Ms. Maxwell to file a notice of appeal on January 11, 2021, which may lead to
  unnecessary parallel proceedings in this Court and in the Court of Appeals.

         We have conferred with the government and it objects to the requested extension.

         For these reasons, we respectfully request that the Court grant a 30-day extension of time
  under Rule 4(b)(4) of the Federal Rules of Appellate Procedure to file our notice of appeal of the
  Court’s order denying Ms. Maxwell’s renewed motion for bail. (Dkt. 104, 106). 1

                                                            Sincerely,


                                                              /s/ Christian Everdell     .
                                                            Christian R. Everdell
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                                                            800 Third Avenue, 21st Floor
                                                            New York, New York 10022
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  cc:    All Counsel of Record (By ECF)




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   In the event this motion is denied (or not granted by the close of business on January 11, 2021),
  Ms. Maxwell will file a notice of appeal to preserve her right to appeal the December 28, 2020
  Order denying the renewed motion for bail (Dkt. 104, 106).
